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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION



RYAN, LLC,
                                              Civil Action No. 3:24-CV-00986-E
                    Plaintiff,
                                              Hon. Ada Brown
v.

FEDERAL TRADE COMMISSION,

                    Defendant.



   UNOPPOSED MOTION OF THE NATIONAL ASSOCIATION OF
 MANUFACTURERS FOR LEAVE TO FILE BRIEF AMICUS CURIAE IN
  SUPPORT OF PLAINTIFF’S AND INTERVENORS’ MOTIONS FOR
           STAY AND PRELIMINARY INJUNCTION

      Pursuant to Local Rule 7.2(b), Proposed amicus, the National Association of

Manufacturers (NAM), respectfully requests leave to file the attached brief amicus

curiae in support of Plaintiff’s and Intervenors’ motions for a stay and a preliminary

injunction. Counsel for proposed amicus has conferred with counsel for the parties,

and certifies that no party opposes the filing of the proposed amicus brief.

                  NATURE AND STAGE OF PROCEEDING
      Defendant Federal Trade Commission (FTC) promulgated a final rule that

categorically prohibits non-compete agreements across all workers and all industries

in the United States (the Non-Compete Rule). See Non-Compete Clause Rule, 89


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Fed. Reg. 38,342 (May 7, 2024). Plaintiff Ryan, LLC challenged the rule under the

Administrative Procedure Act, and has moved for an order staying the effective date

of the rule and preliminarily enjoining FTC from enforcing it. Dkt. 23. Intervenors

have filed a separate motion requesting similar relief. Dkt. 46.

                     ISSUE AND STANDARD OF REVIEW

      The issue presented is whether the NAM’s unopposed request to file the

attached proposed amicus brief should be granted. Whether a district court “permits

or denies amicus briefing lies solely within the court’s discretion.” Texas v. United

States, 2021 WL 2172837 (S.D. Tex. Mar. 5, 2021) (quotation marks omitted); see

also id. (“[D]istrict courts commonly refer to [Fed. R. App. P.] 29 for guidance.”)

(quotation marks omitted)

      Under Rule 29, courts should grant leave to file when the potential amicus

establishes “(a) an adequate interest, (b) desirability, and (c) relevance.”

Neonatology Assocs., P.A. v. Comm’r of Internal Revenue, 293 F.3d 128, 131 (3d

Cir. 2002) (Alito, J.). The Fifth Circuit has indicated that “unless it is obvious that

the proposed briefs do not meet Rule 29’s criteria as broadly interpreted,” courts are

“well advised to grant motions for leave to file amicus briefs.” Lefebure v. D’Aquilla,

15 F.4th 670, 676 (5th Cir. 2021) (quoting Neonatology Assocs., 293 F.3d at 133).




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                      INTEREST OF AMICUS CURIAE

      The NAM is the largest manufacturing association in the United States,

representing small and large manufacturers in all 50 states and in every industrial

sector. Manufacturing employs nearly 13 million men and women, contributes $2.85

trillion to the economy annually, has the largest economic impact of any major

sector, and accounts for over half of all private-sector research and development in

the nation, fostering the innovation that is vital for this economic ecosystem to

thrive.

      Manufacturing’s massive investment in research and development (R&D)—

to the tune $361.2 billion in 2022 (see NAM, Facts About Manufacturing,

perma.cc/2PE9-8DVU)—is only possible because of intellectual property

protections that assure manufacturers they can earn a return on their efforts at

innovation. Among these essential intellectual property protections are protections

for trade secrets and other proprietary and confidential information. See NAM, NAM

Policy Positions (Sept., 21, 2022), perma.cc/C5TG-KBV4.

      Non-compete agreements are a key instrument that manufacturers have long

used to protect their trade secrets and confidential business information. According

to a recent NAM survey, close to 87% of respondents use contractual tools such as

non-compete, non-disclosure, or non-solicitation agreements, with around 70%

stating that they use non-compete agreements. See NAM Comment, Dkt. FTC-2023-



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0007-20939, at 2. Manufacturers enter non-compete agreements selectively,

targeting the tool to cover employees with highly specialized skillsets and/or

knowledge of confidential, proprietary or strategically important technical and

business information, such as senior managers, engineers, and sales personnel.

Manufacturers typically craft their non-compete agreements on an individualized,

case-by-case basis, shaped by an employee’s role within the company and his or her

unique knowledge, expertise or training.

      FTC’s sweeping ban on non-compete agreements threatens to hamstring

innovation in the manufacturing sector and damage the competitiveness of American

industry. Faced with impaired incentives to invest in innovation, manufacturers and

other businesses will retrench their R&D efforts. And without effective legal

protections for their trade secrets and other proprietary information, manufacturers

will dramatically shift toward suboptimal and inefficient operational practices and

procedures, including “self-help” measures to guard against misappropriation by

departing employees.

      As the voice of the manufacturing sector, the NAM has a strong interest in

forestalling the serious harms to the innovation and competitiveness of American

industry threatened by the Non-Compete Rule.




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                                    ARGUMENT
      A.     The NAM has an adequate interest in this case.

      Amici may satisfy the “adequate interest” criterion by showing that they have

“pecuniary, as well as policy, interests” in the issues presented in, and the outcome

of, the litigation. See Neonatology Assocs., 293 F.3d at 132. It is indisputable that

the NAM has a policy interest—and its members have a pecuniary interest—in the

lawfulness of FTC’s sweeping ban on non-compete agreements. As explained above,

manufacturers have long depended on the targeted use of non-compete agreements

with selected employees to protect their trade secrets and other proprietary

information. FTC’s Non-Compete Rule upends this essential framework for

preserving manufacturers’ intellectual property, thereby threatening to undermine a

foundation of innovation and business competitiveness within American industry.

      The NAM has taken a consistent and strong policy position on the importance

of trade secrecy to its members, and those members have an obvious business

interest in safeguarding their proprietary information. Accordingly, the NAM has an

“adequate interest”—both policy and pecuniary in form—in this litigation.

      B.     Amicus briefing by the NAM is desirable.

      Then-judge Alito stressed that it is “prudent” to give the “desirability”

criterion “a broad reading.” Neonatology Assocs., 293 F.3d at 132; see also id. at

133 (“[I]t is preferable to err on the side of granting leave.”)



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      One particular way in which amicus briefing could be desirable is if it helps

to “explain the impact a potential holding might have on an industry or other group.”

Neonatology Assocs., 293 F.3d at 132 (quoting Luther T. Munford, When Does the

Curiae Need An Amicus?, 1 J. App. Prac. & Process 279 (1999)). As described

above, that is precisely what the NAM’s brief does. This industry-specific

perspective makes the proposed brief’s “desirable,” especially given the broad

reading that should be given to that criterion.

      C.     The NAM’s proposed amicus brief is relevant.
      A brief is “relevant” when it “alerts the [court] to possible implications of the

appeal” and does not seek to “inject new issues into the case.” Neonatology Assocs.,

293 F.3d at 133. The central themes of the proposed amicus brief—the enormous

impact of FTC’s Non-Compete Rule on the protection of proprietary business

information, and the insufficiency of alternative methods of protection—are highly

relevant to the key issues in the case, including whether, under the “major questions

doctrine,” Congress has delegated authority to FTC to promulgate rules to

comprehensively regulate non-compete agreements, and whether FTC has engaged

in reasoned decision-making and adequately explained its policy.

      In sum, the NAM’s proposed amicus brief meets Rule 29’s three criteria of

adequate interest, desirability, and relevance. See also Lefebure, 15 F.4th at 676

(courts “would be well advised to grant motions for leave to file amicus briefs unless



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it is obvious that the proposed briefs do not meet Rule 29’s criteria as broadly

interpreted.”) (quotation marks omitted).

                                 CONCLUSION
      The Court should grant leave for the NAM to file the attached amicus brief.



Dated: May 14, 2024                     Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE
      1. This document complies with the type-volume requirements of Judge

Brown’s Motion Practice procedures II.A because it contains 1,203 words; and

      2. This document complies with the typeface requirements of Judge Brown’s

Motion Practice procedures II.A because it has been prepared in a proportionally

spaced typeface using Microsoft Office Word in 14-point Times New Roman font.



Dated: May 14, 2024                  /s/ Richard D. Salgado
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                         CERTIFICATE OF SERVICE
      I hereby certify that, on May 14, 2023, I caused the foregoing document to be

filed with the Clerk for the U.S. District Court for the Northern District of Texas

through the ECF system. Participants in the case who are registered ECF users will

be served through the ECF system, as identified by the Notice of Electronic Filing.


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